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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF OKLAHOMA

 JIM LEE REMER,                           )
                                          )
        Plaintiff,                        )
                                          )
 v.                                       )      Case No. 14-CV-202-TCK-TLW
                                          )
 HARTFORD LIFE AND ACCIDENT               )
 INSURANCE COMPANY,                       )
                                          )
        Defendant.                        )

                                        JUDGMENT

        Judgment is hereby entered in favor of Defendant and against Plaintiff. This Judgment

 terminates the litigation.

        SO ORDERED this 16th day of February, 2016.
